Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 1 of 61   PageID #: 8
                                                              EXHIBIT B
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 2 of 61   PageID #: 9
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 3 of 61   PageID #: 10
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 4 of 61   PageID #: 11
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 5 of 61   PageID #: 12
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 6 of 61   PageID #: 13
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 7 of 61   PageID #: 14
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 8 of 61   PageID #: 15
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 9 of 61   PageID #: 16
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 10 of 61   PageID #: 17
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 11 of 61   PageID #: 18
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 12 of 61   PageID #: 19
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 13 of 61   PageID #: 20
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 14 of 61   PageID #: 21
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 15 of 61   PageID #: 22
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 16 of 61   PageID #: 23
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 17 of 61   PageID #: 24
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 18 of 61   PageID #: 25
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 19 of 61   PageID #: 26
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 20 of 61   PageID #: 27
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 21 of 61   PageID #: 28
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 22 of 61   PageID #: 29
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 23 of 61   PageID #: 30
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 24 of 61   PageID #: 31
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 25 of 61   PageID #: 32
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 26 of 61   PageID #: 33
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 27 of 61   PageID #: 34
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 28 of 61   PageID #: 35
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 29 of 61   PageID #: 36
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 30 of 61   PageID #: 37
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 31 of 61   PageID #: 38
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 32 of 61   PageID #: 39
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 33 of 61   PageID #: 40
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 34 of 61   PageID #: 41
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 35 of 61   PageID #: 42
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 36 of 61   PageID #: 43
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 37 of 61   PageID #: 44
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 38 of 61   PageID #: 45
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 39 of 61   PageID #: 46
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 40 of 61   PageID #: 47
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 41 of 61   PageID #: 48
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 42 of 61   PageID #: 49
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 43 of 61   PageID #: 50
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 44 of 61   PageID #: 51
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 45 of 61   PageID #: 52
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 46 of 61   PageID #: 53
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 47 of 61   PageID #: 54
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 48 of 61   PageID #: 55
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 49 of 61   PageID #: 56
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 50 of 61   PageID #: 57
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 51 of 61   PageID #: 58
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 52 of 61   PageID #: 59
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 53 of 61   PageID #: 60
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 54 of 61   PageID #: 61
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 55 of 61   PageID #: 62
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 56 of 61   PageID #: 63
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 57 of 61   PageID #: 64
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 58 of 61   PageID #: 65
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 59 of 61   PageID #: 66
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 60 of 61   PageID #: 67
Case 1:20-cv-00050-LEW Document 1-2 Filed 02/12/20 Page 61 of 61   PageID #: 68
